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                                           U.S. District Court
                              Eastern District of Virginia - (Newport News)
                       CRIMINAL DOCKET FOR CASE #: 4:15-cr-00089-AWA-LRL-1


          Case title: USA v. Smith                                        Date Filed: 11/18/2015
                                                                          Date Terminated: 05/27/2016


          Assigned to: District Judge Arenda L.
          Wright Allen
          Referred to: Magistrate Judge Lawrence R.
          Leonard

          Defendant (1)
          Joseph Smith, III                             represented by Andrew William Grindrod
          TERMINATED: 05/27/2016                                       Office of the Federal Public Defender -
                                                                       Norfolk
                                                                       150 Boush St
                                                                       Suite 403
                                                                       Norfolk, VA 23510
                                                                       (757) 457-0800
                                                                       Fax: (757) 457-0880
                                                                       Email: andrew_grindrod@fd.org
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED
                                                                       Designation: Public Defender

          Pending Counts                                                     Disposition
          T. 18, USC 922(g)(1) and 924(a)(2) -
                                                                             IMPRISONMENT: FIFTEEN (15)
          Felon in Possession of a Firearm and
                                                                             MONTHS; SUPERVISED RELEASE:
          Ammunition\T. 18, USC 924(d)(1) by T.
                                                                             THREE (3) YEARS; SPECIAL
          28, USC 2461(c) - Criminal Forfeiture
                                                                             ASSESSMENT: $100.00
          (1)

          Highest Offense Level (Opening)
          Felony

          Terminated Counts                                                  Disposition
          None

          Highest Offense Level (Terminated)



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          None

          Complaints                                                 Disposition
          None



          Plaintiff
          USA                                         represented by Conor Mulroe
                                                                     United States Attorney Office (Newport
                                                                     News-NA)
                                                                     721 Lakefront Commons
                                                                     Suite 300
                                                                     Newport News, VA 23606
                                                                     **NA***
                                                                     757-591-4028
                                                                     Fax: 757-591-0866
                                                                     Email: Conor.Mulroe@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED
                                                                     Designation: US Attorney

                                                                     Jeremy R. Jehangiri
                                                                     Department of Justice
                                                                     Criminal Division/Capital Case Section
                                                                     1331 F St, NW
                                                                     Washington, DC 20005
                                                                     NA
                                                                     Email: jeremy.jehangiri@usdoj.gov
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

                                                                     Dee Mullarkey Sterling
                                                                     United States Attorney's Office
                                                                     721 Lakefront Commons
                                                                     Suite 300
                                                                     Fountain Plaza Three
                                                                     Newport News, VA 23606
                                                                     (757) 591-4000
                                                                     Fax: (757) 591-0866
                                                                     Email: dee.sterling@usdoj.gov
                                                                     ATTORNEY TO BE NOTICED

                                                                     Matthew K Hoff
                                                                     United States Attorney Office (Newport
                                                                     News)
                                                                     721 Lake Front Commons
                                                                     Suite 300
                                                                     Newport News, VA 23606
                                                                     NA


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                                                                          Email: matthew.hoff2@usdoj.gov
                                                                          ATTORNEY TO BE NOTICED


          Date Filed    #   Docket Text
          11/18/2015    1 CRIMINAL INDICTMENT FILED IN OPEN COURT 11/18/15, as to Joseph Smith,
                          III (1) count(s) 1. On motion of the Government, the Court DIRECTED a warrant to be
                          issued. (ecav, ) (Additional attachment(s) added on 11/19/2015: # 1 Deft. Info Sheet)
                          (ecav, ). (Entered: 11/18/2015)
          11/18/2015    4 Arrest Warrant Issued and delivered to USM as directed by Magistrate Judge Robert J.
                          Krask, as to Joseph Smith, III. (ecav, ) (Entered: 11/18/2015)
          12/22/2015        Set Hearings as to Joseph Smith, III: Initial Appearance set for 12/22/2015 at 02:00 PM
                            in Norfolk Mag Courtroom 2 before Magistrate Judge Douglas E. Miller. (lwoo)
                            (Entered: 12/22/2015)
          12/22/2015        Arrest of Joseph Smith, III (ecav, ) (Entered: 12/22/2015)
          12/22/2015    5 Minute Entry for proceedings held before Magistrate Judge Douglas E. Miller: Initial
                          Appearance as to Joseph Smith, III held on 12/22/2015.

                            Appearances: AUSA Kevin Hudson, present, for the Government; deft. present, in
                            custody. Deft. advised of rights, charges and right to counsel; counsel desired; Court
                            DIRECTED appointment of counsel; Govt. motion for detention; TEMPORARY
                            DETENTION ORDERED. Set/Reset Hearings as to Joseph Smith, III: Detention
                            Hearing set for 12/28/2015 at 02:00 PM in Norfolk Mag Courtroom 2 before Magistrate
                            Judge Robert J. Krask. Deft. remanded to custody of USM.(Court Reporter FTR.)(ecav,
                            ) (Entered: 12/23/2015)
          12/22/2015    6 Arrest Warrant Returned Executed on 12/22/15 and filed in open court 12/22/15, as to
                          Joseph Smith, III. (ecav, ) (Entered: 12/23/2015)
          12/22/2015    7 CJA 23 Financial Affidavit filed in open court, as to Joseph Smith, III. (ecav, )
                          (Entered: 12/23/2015)
          12/22/2015    8 Temporary Detention Order entered and filed in open court 12/22/15, as to Joseph
                          Smith, III. (Signed by Magistrate Judge Douglas E. Miller on 12/22/15). (ecav, )
                          (Entered: 12/23/2015)
          12/28/2015    9 Minute Entry for Arraignment and Detention Hearing as to Joseph Smith, III held
                          12/28/15 before Magistrate Judge Robert J. Krask. Defendant present, in custody.
                          Defendant waives detention hearing. Arraignment held. Defendant waived formal
                          arraignment, entered plea of not guilty, wishes to appear at preliminary hearings and
                          demands trial by jury. Preliminary motions deadline 1/11/16. Jury Trial set for 3/1/2016
                          at 10:00 AM in Newport News Courtroom 1 before District Judge Arenda L. Wright
                          Allen. Defendant remanded.

                            Appearances: AUSA Kevin Hudson for the Government, AFPD Kirsten Kmet for
                            defendant. (Court Reporter FTR.)(lwoo) (Entered: 12/28/2015)
          12/28/2015   10 Agreed Discovery Order as to Joseph Smith, III. Signed by Magistrate Judge Robert J.
                          Krask on 12/28/15. (lwoo) (Entered: 12/28/2015)




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          12/29/2015   11 ORDER OF DETENTION entered and filed 12/29/15, as to Joseph Smith, III. (Signed
                          by Magistrate Judge Robert J. Krask on 12/29/15). (ecav, ) (Entered: 12/29/2015)
          01/07/2016   12 NOTICE OF ATTORNEY APPEARANCE Jeremy R. Jehangiri appearing for USA.
                          (Jehangiri, Jeremy) (Entered: 01/07/2016)
          01/11/2016   13 MOTION to Suppress by Joseph Smith, III. (Grindrod, Andrew) Modified on 2/10/2016
                          to terminate motion. Notice of Withdrawal of Motion filed ECF 16 (tbro). (Entered:
                          01/11/2016)
          01/19/2016   14 RESPONSE in Opposition by USA as to Joseph Smith, III re 13 MOTION to Suppress
                          (Jehangiri, Jeremy) (Entered: 01/19/2016)
          01/29/2016       Motion Hearing 13 MOTION to Suppress set for 2/12/2016 at 11:00 AM in Norfolk
                           Courtroom 3 before District Judge Arenda L. Wright Allen. (lhow) (Entered:
                           01/29/2016)
          02/02/2016   15 2 Blank Subpoenas issued on behalf of defendant, Joseph Smith, III (afar) (Entered:
                          02/03/2016)
          02/10/2016   16 NOTICE of Withdrawal of Motion by Joseph Smith, III re 13 MOTION to Suppress
                          (Grindrod, Andrew) (Entered: 02/10/2016)
          02/10/2016       Set Hearings as to Joseph Smith, III: Plea Agreement Hearing set for 2/11/2016 at 02:00
                           PM in Newport News Courtroom 2 before Magistrate Judge Lawrence R. Leonard.
                           (cdod, ) (Entered: 02/10/2016)
          02/11/2016   17 ORDER authorizing a United States Magistrate Judge to conduct guilty plea
                          proceedings. Signed by District Judge Arenda L. Wright Allen and filed on 2/11/16.
                          (tbro) (Entered: 02/12/2016)
          02/11/2016   18 Consent - Waiver of Right to Rule 11 before a US District Judge by Joseph Smith, III
                          (lhow) (Entered: 02/12/2016)
          02/11/2016   19 Plea Agreement Hearing held before Magistrate Judge Lawrence R. Leonard on
                          2/11/2016: Jeremy Jehangiri present on behalf of the government; Andrew Grindrod
                          present on behalf of the defendant; Defendant present and in custody; Defendant sworn;
                          Court explained to the defendant that by pleading guilty he waived his right to appeal;
                          Plea entered by Joseph Smith III (1) Guilty: Count 1. Sentencing set for 5/19/2016 at
                          11:00 AM in Norfolk Courtroom 2 before District Judge Arenda L. Wright Allen.
                          Defendant remanded to the custody of the USM.(Court Reporter Heidi Jeffries.)(lhow)
                          (Entered: 02/12/2016)
          02/11/2016   20 PLEA AGREEMENT as to Joseph Smith, III filed in open court. (lhow) (Entered:
                          02/12/2016)
          02/11/2016   21 Statement of Facts as to Joseph Smith, III filed in open court. (lhow) (Entered:
                          02/12/2016)
          02/11/2016   22 Order Accepting Plea of Guilty as to Joseph Smith, III. Signed by Magistrate Judge
                          Lawrence R. Leonard and filed on 2/11/16. (lhow) (Entered: 02/12/2016)
          02/11/2016   23 Sentencing Procedures Order as to Joseph Smith, III. Signed by Magistrate Judge
                          Lawrence R. Leonard and filed on 2/11/16. (lhow) (Entered: 02/12/2016)
          02/16/2016   24 Consent ORDER OF FORFEITURE as to Joseph Smith, III. Signed by District Judge
                          Arenda L. Wright Allen on 2/16/2016. (bgra) (Entered: 02/16/2016)


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          02/29/2016   25 NOTICE OF ATTORNEY APPEARANCE Matthew K Hoff appearing for USA. (Hoff,
                          Matthew) (Entered: 02/29/2016)
          03/16/2016       Reset (location change) sentencing as to Joseph Smith, III for 5/19/2016 at 11:00 AM in
                           Norfolk Courtroom 3 before District Judge Arenda L. Wright Allen. (lhow) (Entered:
                           03/16/2016)
          04/05/2016   26 PRESENTENCE INVESTIGATION REPORT (Disclosed Presentence Investigation
                          Report) (SEALED - government and defense counsel) as to Joseph Smith, III.
                          Objections to PSI due 04/21/2016. (jones, marycarol) (Entered: 04/05/2016)
          05/04/2016   27 PRESENTENCE INVESTIGATION REPORT (Sentencing Presentence Investigation
                          Report) (SEALED - government and defense counsel) as to Joseph Smith, III. (jones,
                          marycarol) (Entered: 05/04/2016)
          05/06/2016   29 NOTICE of Publication and Finality of Consent Order of Forfeiture by Joseph Smith,
                          III re 24 Consent Order for Forfeiture of Property (Attachments: # 1 Exhibit Declaration
                          of Publication)(Hudson, Kevin) (Entered: 05/06/2016)
          05/12/2016   30 Position on Sentencing by USA as to Joseph Smith, III (Hoff, Matthew) (Entered:
                          05/12/2016)
          05/12/2016   31 Position on Sentencing by Joseph Smith, III (Attachments: # 1 Exhibit 1 - Statement of
                          Joseph Smith, III (Defendant), # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5
                          -, # 6 Exhibit 6, # 7 Letter from Kerri Thurman, # 8 Letter from Sonya Levasseur, # 9
                          Letter from Kim Smith, # 10 Letter from Charvesse Miller, # 11 Letter from Hamaji
                          Miller, # 12 Letter from Joseph Smith, Jr., # 13 Letter from Tajh Smith, # 14 Letter
                          from Merv Hyndman, # 15 Letter from Linda Davis, # 16 Letter from Tracey Bowser, #
                          17 Letter from Katie Gilbert)(Grindrod, Andrew) (Entered: 05/12/2016)
          05/19/2016   32 Sentencing held before District Judge Arenda L. Wright Allen on 5/19/2016: Matthew
                          Hoff present on behalf of the government; Andrew Grindrod present on behalf of the
                          defendant; Defendant present and in custody; Defendant sworn; Arguments of counsel
                          heard. Joseph Smith, III (1), Count 1, IMPRISONMENT: FIFTEEN (15) MONTHS;
                          SUPERVISED RELEASE: THREE (3) YEARS; SPECIAL ASSESSMENT: $100.00.
                          Defendant remanded to the custody of the USM (Court Reporter Jody Stewart.)(lhow)
                          (Entered: 05/19/2016)
          05/27/2016   33 JUDGMENT as to Joseph Smith, III (1), Count 1: IMPRISONMENT: FIFTEEN (15)
                          MONTHS; SUPERVISED RELEASE: THREE (3) YEARS; SPECIAL
                          ASSESSMENT: $100.00. The defendant is remanded to the custody of the United
                          States Marshal. Signed by District Judge Arenda L. Wright Allen on 5/26/16 and filed
                          5/27/16. Copies distributed to all parties 5/27/16. (ldab, ) (Entered: 05/27/2016)
          05/27/2016   34 Sealed Statement of Reasons as to Joseph Smith, III. Signed by District Judge Arenda
                          L. Wright Allen on 5/26/16 and filed 5/27/16. (ldab, ) (Entered: 05/27/2016)
          09/11/2017   35 Waiver of Hearing to modify conditions of probation/supervised release, entered and
                          filed 9/11/17, as to Joseph Smith, III. (Signed by District Judge Arenda L. Wright Allen
                          on 9/11/17). Copies provided 9/11/17. (ecav, ) (Entered: 09/11/2017)
          12/04/2017   36 Waiver of Hearing to modify conditions of probation/supervised release, entered and
                          filed 12/4/17, as to Joseph Smith, III. (Signed by District Judge Arenda L. Wright Allen
                          on 12/4/17). Copies provided 12/4/17. (ecav, ) (Entered: 12/04/2017)




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          04/18/2018   37 Petition and Order on Supervised Release as to Joseph Smith, III directing a Warrant to
                          be issued. Signed by District Judge Arenda L. Wright Allen on 04/17/18. (jjon)
                          (Entered: 04/18/2018)
          04/18/2018   38 Arrest Warrant Issued by District Judge Arenda L. Wright Allen and delivered to USM
                          in case as to Joseph Smith, III. (jjon) (Entered: 04/18/2018)
          04/18/2018   40 NOTICE OF ATTORNEY APPEARANCE Dee Mullarkey Sterling appearing for USA.
                          (Sterling, Dee) (Entered: 04/18/2018)
          09/04/2019   41 Addendum to Petition on Supervised Release as to Joseph Smith, III. Signed by District
                          Judge Arenda L. Wright Allen on 9/3/2019. (dcou, ) (Entered: 09/04/2019)




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